   Case 3:05-cr-00228-ADC-JA       Document 456      Filed 07/13/06    Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 05-228 (ADC)

 JOSE SANCHEZ-PEÑA (4)
      Defendant


                                          ORDER

       Before the Court is an unopposed Report and Recommendation issued by Chief

Magistrate-Judge Justo Arenas on June 21, 2006. (Docket No. 427.) In said Report and

Recommendation the Chief Magistrate-Judge recommends that: defendant José Sánchez-

Peña be adjudged guilty of the offenses charged in Count I (21 U.S.C. § 846) inasmuch as,

his plea of guilty was intelligently, knowingly and voluntarily entered.

       Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its

entirety.

       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.
   Case 3:05-cr-00228-ADC-JA        Document 456      Filed 07/13/06   Page 2 of 2



Criminal No.05-228 (ADC)                                                               Pag
                                                                                       e -2-


       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report on May 17, 2006. The sentencing hearing is set for October 5, 2006

at 10:30 a.m.

       SO ORDERED.

        At San Juan, Puerto Rico, this 12th day of July, 2006.




                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
